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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                               NEWPORT NEWS DIVISION


        In re:                                     )
                                                   )   CHAPTER 7
        DAVID PAUL BUCK                            )
        A/K/A DAVID P. BUCK                        )
                                                   )
        AND                                        )
                                                   )
        AMY DENISE BUCK                            )
        A/K/A AMY D. BUCK                          )
        DBA WAGS & WHISKERS PET SITTING            )
        SERVICE, LLC                               )
                                                   )   CASE No. 17-51549-SCS
                      Debtors.                     )
        ___________________________________        )
                                                   )
        NEW PENN FINANCIAL, LLC                    )
        D/B/A SHELLPOINT MORTGAGE                  )
        SERVICING                                  )
                                                   )
                        Movant,                    )
        v.                                         )
                                                   )
        DAVID PAUL BUCK                            )
        A/K/A DAVID P. BUCK                        )
                                                   )
        AND                                        )
                                                   )
        AMY DENISE BUCK                            )
        A/K/A AMY D. BUCK                          )
        DBA WAGS & WHISKERS PET SITTING            )
        SERVICE, LLC                               )
                                                   )
        AND                                        )
                                                   )
        CLARA P. SWANSON, TRUSTEE                  )
                                                   )   FILED PURSUANT TO 11 U.S.C
                        Defendants.                )   SECTION 362
       _____________________
       David A. Rosen
       Virginia Bar No. 44494
       BUONASSISSI, HENNING & LASH
       A Professional Corporation
       1861 Wiehle Avenue, Suite 300
       Reston, Virginia 20190
       Phone (703) 796-1341, ext. 110
       Fax (703) 796-9383
       e-mail: drosen@bhlpc.com
       Counsel for Movant
                                               1
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                              MOTION SEEKING RELIEF FROM STAY

              Comes now New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing (the

       “Movant”), a secured creditor, by Counsel, and moves this Honorable United States

       Bankruptcy Court for Relief from the Stay imposed by 11 U.S.C. Section 362(a), and in

       support thereof, state as follows:

              1.      That this Motion is filed pursuant to 11 U.S.C. Section 362(d) and Rules

       4001 and 9014 of the Bankruptcy Rules, as hereinafter shall more fully appear.

              2.      That the Movant is a secured creditor of the Debtors, whose claim is based

       upon a certain Note dated November 14, 2003 in the principal amount of $108,720.00 and

       executed by David Paul Buck, a/k/a David P. Buck and Amy Denise Buck, a/k/a Amy D.

       Buck, dba Wags & Whiskers Pet Sitting Service, LLC, the Debtors herein. The total amount

       due, including the unpaid principal balance of $82,285.65 due under said Note as of

       December 15, 2017, interest of $4,214.02 at the Note rate, late charges and attorney's fees

       and costs was approximately $89,158.10. A copy of an estimated payoff statement is

       attached hereto, marked as Exhibit A, as is a copy of the said Note, marked as Exhibit B.

       Repayment of said Note is secured by that certain Deed of Trust dated November 14, 2003

       and recorded on November 17, 2003 as Instrument # LR030036199 among the land records

       of York County, Virginia, by which the subject property was conveyed to Allen C. Tanner,

       Jr., Trustee(s), which property has the address of 103 Kelsey Road, Williamsburg, VA

       23185 and which is more particularly described in the Deed of Trust as:

              All that certain lot, piece or parcel of land, lying and being in, and
              situate in Bruton Magisterial District, York County, Virginia, and
              known and designated as Lot 19 on that certain blueprint plat
              entitled, “GREENSPRINGS, SECTION A”, made April 20, 1959,
              by McManus Mrock, and McManus, C.L.S., a blueprint copy of
              said plat being duly of record in the Clerk’s Office of the Circuit



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              Court of York County, in Plat book 6 on page 44. Reference to
              said plat is herewith made for a complete description of said
              property.


       A copy of said Deed of Trust and Assignment of Deed of Trust is attached hereto, marked as

       Exhibit B-1, and expressly made a part hereof.

              3.      That on November 6, 2017, the United States Bankruptcy Court for the

       Eastern District of Virginia entered an Order for Relief under 11 U.S.C. Chapter 7 upon a

       petition filed by David Paul Buck, a/k/a David P. Buck and Amy Denise Buck, a/k/a Amy

       D. Buck, dba Wags & Whiskers Pet Sitting Service, LLC, Case No. 17-51549-SCS.

              4.      That the Debtors are in default in repayment of the note and are next due for

       March 1, 2017 payment with a reinstatement balance of $9,523.12. A copy of a

       reinstatement balance is attached hereto as Exhibit C.

              5.      That by reason of the foregoing, the Movant lacks adequate protection for its

       security interest and is, and continues to be, irreparably harmed by the continuation of stay

       of 11 U.S.C. Section 362(a) and that therefore cause exists for the termination thereof.

              6.      That upon entry of an Order terminating the stay of 11 U.S.C. Section 362(a),

       the Movant should be free to take such actions with respect to the subject property as are set

       forth under applicable non-bankruptcy law (i.e. modification, short sale and other loss

       mitigation options).

               New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing reserved the right to

       foreclose. Shellpoint Mortgage Servicing services the underlying mortgage loan and note for

       the property referenced in this Motion for Movant. In the event the automatic stay in this

       case is modified, this case dismisses, and/or the Debtors obtain a discharge and a foreclosure

       action is commenced on the mortgaged property, the foreclosure will be conducted in the



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       name of Movant. Movant, directly or through an agent, has possession of the Note. The

       Note is either made payable to Movant or has been duly endorsed.

              WHEREFORE, the Movant respectfully moves this Honorable United States

       Bankruptcy Court for entry of an Order (i) granting it, its successors and/or assigns relief

       from the stay of 11 U.S.C. Sections 362(a) so that the undersigned may proceed to enforce

       its security interest in the subject property by instituting or continuing foreclosure

       proceedings against the subject property in state court, (ii) allowing it to take such other

       actions with respect to the subject property as are set forth under applicable non-bankruptcy

       law, (iii) allowing the successful purchaser at the foreclosure sale to obtain possession of the

       subject property, and (iv) that the Order be binding and effective despite any conversion of

       this bankruptcy case to a case under any other chapter of Title 11 of the United States Code.

                      NOTICE OF INTENT TO SUBMIT BUSINESS RECORDS

              The Movant will submit business records as evidence at any scheduled hearing, as

       allowed under Fed. R. Bankr. P. 9017 and FRE 902(11). These business records and the

       declaration of their maintenance as business records are available for inspection by the

       adverse party upon demand.

                                                  NOTICE


              Your rights may be affected. You should read these papers carefully and
       discuss them with your attorney, if you have one in this bankruptcy case. (If you do
       not have an attorney, you may wish to consult one.)
              If you do not wish the Court to grant the relief sought in the motion, or if you
       want the court to consider your views on the motion, then within 14 days from the date
       of service of this motion, you must file a written response explaining your position with
       the Court and serve a copy on the movant. Unless a written response is filed and
       served within this 14-day period, the Court may deem opposition waived, treat the
       motion as conceded, and issue an order granting the requested relief without further
       notice or hearing.



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              If you mail your response to the Court for filing, you must mail it early enough
       so the Court will receive it on or before the expiration of the 14-day period.
              You will be notified separately of the hearing date on the motion.



                                                 NEW PENN FINANCIAL, LLC D/B/A
                                                 SHELLPOINT MORTGAGE SERVICING


                                                 By: /s/David A. Rosen
                                                   David A. Rosen
                                                   Virginia Bar No. 44494
                                                   BUONASSISSI, HENNING & LASH
                                                   A Professional Corporation
                                                   1861 Wiehle Avenue, Suite 300
                                                   Reston, Virginia 20190
                                                   Phone (703) 796-1341, ext. 110
                                                   Fax (703) 796-9383
                                                   E-mail: drosen@bhlpc.com
                                                   Counsel for New Penn Financial, LLC d/b/a
                                                   Shellpoint Mortgage Servicing




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                                    CERTIFICATE OF SERVICE

              I hereby certify that on the 21st day of December, 2017, a true copy of the foregoing

       Motion Seeking Relief from Stay was mailed first-class, postage prepaid, to:

                David Paul Buck                                     -     Debtor
                a/k/a David P. Buck
                103 Kelsey Road
                Williamsburg, VA 23185

                Amy Denise Buck                                     -     Joint Debtor
                a/k/a Amy D. Buck
                dba Wags & Whiskers Pet Sitting Service, LLC
                103 Kelsey Road
                Williamsburg, VA 23185


                And electronically transmitted to:

                Marc P. Messier                                     -     Counsel for Debtors
                Dunnigan & Messier, PC
                Barrister Place
                11101 Warwick Boulevard
                Newport News, VA 23601

                Clara P. Swanson                                    -     Trustee
                708 Thimble Shoals Boulevard, Suite 1
                Newport News, VA 23606

                Judy A. Robbins                                     -     U.S. Trustee
                Office of the U.S. Trustee, Region 4-NN
                200 Granby Street, Room 625
                Norfolk, VA 23510



                                                     /s/David A. Rosen
                                                        David A. Rosen




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